Case 9:09-cV-82448-KLR Document 60-1 Entered on FLSD Docket 05/11/2010 Page 1 of 6

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 09-82448-CIV-RYSKAMPNITUNAC
ROBERT C. LEWlN, individually,
and BROWARD REHAB CENTER INC.

Plaintiffs,
v.

RAFAEL FOSS, individually, 888-444-PAIN,
INC. and ACCIDENT AND WELLNESS
CENTERS LLC

Defendants.

\\/\/\/\/\/\_/\/\/\/\/\/\/

 

CONSENT FINAL JUDGMENT OF DAMAGES AND PERMANENT INJUNCTION

THIS CAUSE came before the undersigned United States District Judge upon the
consent of the parties Robert C. Lewin (“Lewin”) and Broward Rehab Center (“BRC”) (Lewin
and BRC, collectively, “Plaintiffs”), and Rafael Foss (“Foss”), 888-444-PAIN, Inc., and
Accident and Wellness Centers, LLC (collectively, the “Corporate Defendants”, and Foss and
the Corporate Defendants, collectively, the “Defendants”), who have communicated to the Court
that they have arrived at a confidential settlement of the above-captioned suit. The Court, having
reviewed the pleadings of record, and being otherwise duly advised, makes the following

Findings of Fact:

l. The Court has subject matter and personal jurisdiction over the parties to this
lawsuit.

2. Venue is proper in this Court.

3. l\/Ir. Lewin is the current owner of United States Service Mark 4llPAlN,

Registration No. 2,621,497, for “advertising agency services and providing medical information

Case 9:09-cV-82448-KLR Document 60-1 Entered on FLSD Docket 05/11/2010 Page 2 of 6

in the field of pain and general health care services” with a date of first use of July 1, 1996 and a
registration date of September l7, 2002.

4. This registration is valid and subsisting and in full force and effect and has been
granted incontestable status under Section 15 of the Lanham Act.

5. Broward Rehab has used the federally registered and incontestable mark
411PAIN for advertising agency services and providing medical information in the field of pain
and general health care services since 1996, the 800-411PAIN mark, which incorporates the
registered 411PAIN mark, for medical information services, general health care Services and
accident recovery information services since 1997, and the 411PAIN.COM mark and domain
name for advertising agency services, medical information services, general health care services
and accident recovery information since 1998.

6. As a result of the supervision and control exercised by Broward Rehab over the
nature and quality of the services offered in connection with the 411PAH\I marks, and the
extensive advertising, sale and public acceptance of the marks, these distinctive marks have
acquired celebrity symbolizing the extensive goodwill that Broward Rehab had created
throughout the United States. Therefore, the distinctive family of 411PAIN marks has acquired
significant secondary meaning in the minds of the relevant public and has become famous.

7. In mid 2008, Defendants began using the confusingly similar mark 888-444-
PAIN and the associated phone number 888-444-7246, the trade name 888-444-PAIN, Inc. and
the domain name 888444PAIN. COl\/I (collectively the “888-444-PAIN Marks and Trade
Name”) in various media advertisements in the South Florida.

8. Corporate Defendants offer the same services as Broward Rehab. Corporate
Defendants’ advertisements request that consumers call the 888-444-PAIN number (888-444-

7246), or go to the web pages located at <www.888444PAIN.com> to receive health care

Case 9:09-cV-82448-KLR Document 60-1 Entered on FLSD Docket 05/11/2010 Page 3 of 6

information and general information about getting help after they have been in an accident. In
essence, Corporate Defendants are offering medical information services, general health care
information services and accident recovery information services via the same media channels in
the same geographical area and to the same consumers as Broward Rehab.

9. Defendants’ use of the 888-444-PAIN Marks and Trade Name, as well as the

telephone number phone number 888-444-7246, as well as any similar marks, trade names, or
telephone numbers, is likely to cause consumer confusion.

lO. Unless Defendants’ conduct is enjoined, Plaintiffs will suffer irreparable harm to
their trademarks and the good will associated therewith which may not be remedied through

money damages.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
that:

l. Judgment is hereby entered in favor of Plaintiffs and against Defendants on all
counts of Plaintiffs’ Complaint;

2. Judgment for damages in the amount of $5,000,000.00 is hereby entered in favor
of the Plaintiffs and against the Corporate Defendants, jointly and severally, for which let
execution issue;

3. Each party is to bear its own attorneys fees and costs incurred in relation to this
case;

4. All pending motions are DENIED AS MOOT;

5. Defendants Rafael Foss, 888-444-PAIN, Inc. and Accident and Wellness Centers,
LLC (collectively, “Defendants”), their respective agents, licensees, servants, employees,

successors and assigns, and all corporations in which any of them has an ownership interest or

Case 9:09-cV-82448-KLR Document 60-1 Entered on FLSD Docket 05/11/2010 Page 4 of 6

controls, and all others in concert and privity with any of them are permanently enjoined, from

directly or indirectly:
(i) using the word PAIN in combination with any combination of numbers
(including but not limited to 411PAIN or 444PAIN) as a mark, a domain name, as
a trade name, or in a mnemonic telephone number without Plaintiffs’ written
consent;
(ii) using a mark, a domain name, trade name, trade dress or mnemonic
telephone number which is confusingly similar to Plaintiffs’ trademarks or trade
dress without Plaintiffs’ written consent;
(iii) using any confusineg similar variations of “41 1” and “PAIN,” alone or in
combination with any other letters, words, letter strings, phrases, or designs in
commerce or in connection with any business or for any other purpose (including,
but not limited to, on web sites, in domain names, as names for business entities,
or in mnemonic telephone numbers) without Plaintiffs’ written consent except
that Defendants may make fair use of the words in a non-confusing manner;
(iv) engaging in any course of conduct likely to cause confusion, deception or
mistake, or injure Plaintiffs’ business reputation, or weaken the distinctive quality
of Plaintiffs’ marks without Plaintiffs’ written consent;
(v) infringing any of Plaintiffs’ trademarks or trade dress;
(vi) engaging in unfair competition against Plaintiffs;
(vii) claiming any connection or affiliation with Plaintiffs, or endorsement from
Plaintiffs without Plaintiffs’ written consent; and

(viii) disparaging Plaintiffs goods or services

Case 9:09-cV-82448-KLR Document 60-1 Entered on FLSD Docket 05/11/2010 Page 5 of 6

6. Defendants shall immediately transfer control of the telephone number 888-444-
7246 to Plaintiffs;

7. Defendants shall immediately transfer the domain name 888444PAIN.COM to
Plaintiffs;

8. Defendants will either destroy, or in the case of digital material, delete, any
advertising materials in their possesion, custody, or control, that use the word PA]N to identify
the source of their goods or services, or the numbers “411”, “444” or any combinations which
include the number 4 and/or 1, or that reference the telephone number 888-444-7246, or any use
that is confusineg similar with Plaintiffs’ marks, within sixty (60) days of this Order. At the end
of that time, Defendants shall provide Plaintiffs with written confirmation, under penalty of
perjury, that they have complied with the requirements of this paragraph Such written
confirmation will list each item in question and state whether it has been destroyed or deleted.

9. This Court shall retain jurisdiction over the parties for the purpose of enforcing
the terms of this judgment

This the day of May, 2010.

 

Kenneth L, Ryskamp
United States District Judge

CONSENTED TO BY:

COUNSEL F()R RAFAEL FOSS, 888-444-PAIN, lNC.,
and ACCIDENT AND WELLNESS CENTERS, LLC

BUTZEL LONG, a prof sional corporation
By: W

Johi'rC.B amf C/
Admit pro hac vice
b ner@butzel.com

 

Case 9:09-cV-82448-KLR Document 60-1 Entered on FLSD Docket 05/11/2010 Page 6 of 6

J. Michael Huget
Aa’mz'tledpro hac vice
huget@butzel.com
Christopher B. Hopkins
Florida Bar No. 116122
Hopkins@butzel.com

Guy E. Quattlebaum
Florida Bar No. 86185
Quattlebaum@butzel.com
350 S Main Street, Suite 300
Ann Arbor, MI 48104-2131
Tel:734-995-3110

Fax: 734-995-1777

COUNSEL FOR ROBERT C. LEWIN and
BROWARD REHAB CENRTER, INC.

EsPiNosA | TRUEBA P L

By: WZ/;///

Jorge Espinosa

Florida Bar No 779032
jespinosa@etlaw.com
Michael E. Tschupp
Florida Bar No. 34656
mtschupp@etlaw.com
3001 S.W. 3rd Avenue
Miami, FL 33129
Telephone: (305) 854-0900
Facsimile: (305) 285-5555

